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A091 (Rev. 11/11) Criminal Complaint
                                                                                                                        DEC
                                                                                                              ttF
                                       UNITED STATES DISTRICT COURTST                                                                CQi
                                                                     for the
                                                       Western District of Texas                                              Lily

                  United States of America                             )
                               v.                                      )                                 ,ic/
                    Carl Monroe Gordon                                         Case No.    El':
                                                                       )

                                                                       )



                         Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best        of my knowledge and belief.
On or about the date(s) of             July 2 through July 12, 2019            in the county of           El Paso              in the
     Western          District of               Texas_           ,   the defendant(s) violated:

              Code Section                                                        Offense Description
18 U.S.C. §2243(a)                               Carl Monroe Gordon, on or about July 2 through July 12, 2019, in the
                                                 jurisdiction of the United States, namely Fort Bliss, Texas, in the special
                                                 maritime and territorial jurisdiction of the United States, did knowingly engage
                                                 in a sexual act with a person who has attained the age of 12 years but has
                                                 not attained the age of 16 years.




         This criminal complaint is based on these facts:
See attached probable cause statement hereby incorporated by reference as if fully restated herein




         Q(   Continued on the attached sheet.


                                                                                                  Complainant 's signature

                                                                                      Colette Nicole Baumle, Special Agent, FBI
                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:                         El   Paso, Texas                               Anne 1. Berton, U.S. Magistrate Judge
                                                                                                   Printed name and title
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                                   PROBABLE CAUSE STATEMENT

  1.    I,Colette Nicole Baumle, hereinafter referred to as Affiant, am a Special Agent of
                                                                                            the
 Federal Bureau of Investigation (FBI), and conduct investigations of violations
                                                                                 of Federal
 Criminal Law, to include violent crimes against children.

 2.     On September 29, 2019, U.S. Army Criminal Investigation Command (CID) referred a
case to the FBI El Paso Division's (EPD) Violent Crimes Against Children squad. CID relayed
                                                                                            that
on September 19, 2019, Complainant reported that her 13-year-old daughter, hereinafter
referenced as Victim 1, disclosed to Complainant that Victim l's ex-step father, Carl Gordon,
with whom Victim 1 still has a father/daughter relationship, had been sexually abusing Victim      1
since approximately 2015, when Victim 1 was approximately 10-11 years old.

  3.    After receiving this referral, FBI SAs interviewed Complainant, who stated that Victim 1
disclosed to Complainant that Gordon had sexually abused Victim 1 in two separate residences
located on land within the Special Maritime and Territorial Jurisdiction of the United States,
specifically, Fort Bliss, Texas. Fort Bliss, Texas is within the Western District of Texas.

 4.     Victim 1, and her now 12-year-old sister, Victim 2, were separately forensically
interviewed by the FBI wherein both Victim 1 and Victim 2 claimed that they had both been
sexual abused by Gordon.

 5.     By sexual abuse, Victim 1 clarified to interviewers that Gordon would touch her "down
there"; by "down there", Victim 1 indicated to her to genitals, describing that area as her "my
private part". Victim 1 stated further stated it was her "front" private part; when the Forensic
Interviewer asked what girls use their front private part for, Victim 1 stated, "to pee".

 6.       Victim 1 further stated to the forensic examiner that the last time Gordon sexually
abused her was while Gordon was visiting Victim 1 and Victim 2 at their on-post house located
on Fort Bliss, Texas from approximately July 2 through July 12, 2019; Victim 1 was 13-year-old
at that time. Victim 1 had her own bedroom and Gordon would come into her bedroom and
touch her sexually "pretty often...like every other night". Victim 1 described one instance in her
bedroom on Fort Bliss, Gordon came into her bedroom while she was asleep. Victim 1 stated
her mind was awake, but because she was in shock, she could not move her body or open her
eyes. She felt everything that was happening. Victim 1 tried to talk, but she could not. Gordon
used his hand to touch her "down there... [her] front part". Victim 1 further stated, "and that's
when he like did what he did last time it's not like with my pants, like for real." When the
forensic interviewer asked what she meant when she said "for real", Victim 1 stated, that
Gordon used his hand to touch her down there." She stated it felt wrong, "like this is bad."
Victim 1 further stated Gordon was rubbing her front part with his hand. When the Forensic
Interviewer asked her what part of her front part Gordon was rubbing, Victim 1 stated she did
not know what to call it because she did not know anything about "down there" but "I think like
the part, you know how we pee, I think that part."
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   7.   When the Forensic Interviewer asked if Gordon tried to put something
                                                                                inside down
 there or did put something inside down there, Victim 1 stated, "yeah." Victim
                                                                                1 was laying on
 her back when she felt a "pressure" against her; Victim 1 did not know what
                                                                              to do. Victim 1 did
 not know the position Gordon was in because she did not want to open her eyes.
                                                                                    Gordon
 stopped because her mother was coming home.

  8.     When the Forensic Interviewer asked Victim 1 to recall the last incident with Gordon,
Victim 1 stated that she was asleep and woke up because she felt the cold air when
                                                                                       Gordon
 lifted up her blanket. Victim 1 said she felt Gordon's hand go up her leg and then he stuck
                                                                                             his
fingers in Victim l's pants. Victim 1 further said that she moved her blanket back over her, but
Gordon continued to try touch her "down there". Victim 1 stated Gordon was not able to rub
her down there because she would move. Victim 1 told Gordon to stop, but he tried to do it
again; Victim l's her little sister had awoken, which prompted Gordon to immediately leave her
bedroom. When the Forensic Interviewer asked Victim 1 if there was ever a time Gordon did
touch her down there, Victim 1 stated, "yes".

  9.     Victim 1 told the forensic interviewer that Gordon threatened Victim 1 by telling her
that if she told anyone what Gordon was doing to her, Gordon would make a report that Victim
l's mother was physically abusing her and that she would be taken away from her family.
Victim 1 told the forensic examiner that this threat frightened her.

  10.    During Victim 2's forensic interview, Victim 2 disclosed that Gordon was visiting her and
Victim 1 during Christmas 2018; Victim 2 was 11-years-old. At this time, Victim 1 and Victim 2
lived in a different house than their current one, but still on Fort Bliss, Texas. Victim 2 told the
examiner that she had her own bedroom and that one morning, at approximately 4:00 am,
Victim 2 woke up startled because Gordon was standing in her doorway. Victim 2 said that she
thought Gordon was checking up on her but that instead, Gordon came into her room and
started rubbing Victim 2's thigh.

  11.   Victim 2 continued the interview by saying that Gordon lifted up Victim 2's underwear
and put his hand inside her underwear so that he was touching her bare skin. Victim 2 said that
Gordon put his hand on Victim 2's front "private". Victim 2 stated, "All he did was put his hand
right there...he didn't do anything on my private". Victim 2 further said that while Gordon was
touching her, he did not say anything; Gordon took his hand out of Victim 2's underwear and
left her room. Victim 2 told the forensic interviewer that the following morning, Victim 2
thought she had dreamt the incident because Gordon had never done that before nor did
Gordon say anything to her about it. After Victim 2disclosed to her parents what Gordon had
done to her, Victim 2 said she that she thought maybe the incident with Gordon was not a
dream and really happened "because it felt more real".

  12.    During FBI SAs interview of Complainant, Complainant told SAs that Complainant had
audio recorded a portion of Victim l's initial outcry. Complainant provided that audio recording
to FBI SAs who subsequently listened to the tape. In that recording, Victim 1 could be heard
telling Complainant that her dad [Gordon] would touch her when her mother was gone. Victim
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1 could be heard further stating that "He would put his hand down there", that Gordon tried to
stick his penis "in there", and that Gordon put his mouth on "it". FBI SAs additionally heard
Victim 1 describe many of the same details that Victim 1 had given the forensic interviewers.

 13.   Based on the above information, the affiant has probable cause to believe that between
on or about July 2, 2019 and continuing through and including on or about July 12, 2019, CARL
MONROE GORDON did knowingly engage in sexual abuse of minor, in violation of Title 18,
United States Code 2243(a).
